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                                     No. 10-15286

                                     No. 10-16392

                      UNITED STATES COURT OF APPEALS
                           FOR THE NINTH CIRCUIT


                                  STEPHANIE ENYART,

                                                  PlaintAppellee,

                                      versus

            NATIONAL CONFERENCE OF BAR EXAMINERS,

                                               Defendant-Appellant.


                    On Appeal from the United States District Court
          for the Northern District of California, San Francisco Division
                            The Honorable Charles R. Breyer
                           District Court Case No. C09-05191


                         NOTICE OF MPRE RESULTS


DISABILITY RIGHTS                     BROWN, GOLDSTEIN & LEVY, LLP
ADVOCATES                             Daniel F. Goldstein
Laurence W. Paradis (122336)          dfg@browngold.com
1paradis@dralegal.org                 1210E. Baltimore St., Suite 1700
Kevin Knestrick (229620)              Baltimore, MD 21202
kknestrick@dralegal.org               Phone: (410) 962-1030
Karla Gilbnde (264118)                Fax:    (410) 385-0869
kgilbride@dralegal.org
2001 Center Street, Third Floor
Berkeley, CA 94704
Phone: (510) 665-8644
Fax:    (510) 665-8511
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LABARRE LAW OFFICES, P.C.
Scott C. LaBarre
slabarre@labarrelaw.com
1660 S. Albion Street, Suite 918
Denver, CO 80222
Phone: (303) 504-5979
Fax:     (303) 757-3640

               Attorneys for Plaintiff-Appellee Stephanie Enyart




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                           NOTICE OF MPRE RESULTS



       In accordance with the Clerk's Order dated October 15, 2010, Plaintiff-

Appellee Stephanie Enyart hereby notifies the Court that the results of the August

6, 2010 MPRE were published on September 8, 2010. The MPRE score that Ms.

Enyart received was sufficiently high to qualify her for admission to the Bar in

California if all other eligibility criteria are met.

       The results of the July 2010 California Bar Exam will be publicly released

on November 21, 2010. Ms. Enyart will notify this Court of her results no later

than November 22, 2010.




Dated: October 18, 2010            DISABILITY RIGHTS ADVOCATES


                                    By: /s/ Karla Gilbride

                                           Attorneys for Plaintiff-Appellee
